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 6

 7                               IN THE UNITED STATES DISTRICT COURT
 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                        Case No.: CR.S-07 00314 FCD
11                  Plaintiff,
12          vs.
                                                      ORDER GRANTING STIPULATION TO
13   TERESA MARIA MORALES, ENRIQUE                    CONTINUE STATUS CONFERENCE
14
     MORALES, JOSE LUIS MORALES, JUAN
     MORALES, and PETRA PRECIADO
15   MORALES,
                Defendants.
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                    GOOD CAUSE APPEARING, and by stipulation of all counsel, the Status
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     Conference that is scheduled for June 1, 2010, at 10:00 a.m., is hereby continued to July 26,
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     2010, at 10:00 a.m., in the courtroom of the Honorable Frank C. Damrell, Jr. Time is excluded
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     through that date pursuant to Local Codes T-2, due to complexity, and T-4 for preparation of
21
     counsel.
22
            IT IS SO ORDERED.
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     DATED: May 28, 2010                     _______________________________________
25                                           FRANK C. DAMRELL, JR.
                                             UNITED STATES DISTRICT JUDGE
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